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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States District Court,          )
                                       )
               Plaintiff,              )       ORDER DENYING MOTION FOR
                                       )       RECONSIDERATION OF DETENTION
       vs.                             )       ORDER
                                       )
Chance Witbeck,                        )       Case No. 1:22-cr-064
                                       )
               Defendant.              )


       Defendant is charged in an Indictment with two offenses: (1) conspiracy to distribute and

posses with intent to distribute controlled substances; and (2) possession with intent to distribute

fentanyl. (Doc. No. 6). Following a detention hearing on June 27, 2022, the court ordered him

detained, finding that he had not presented evidence to rebut the presumption of detention and

currently did not have an adequate release option available to him. (Doc. Nos. 48, 49). However,

the court placed him in a waiting list for a residential reentry center and in so doing advised that it

would also consider on appropriate motion his release to a residential treatment facility with

appropriate oversight and supervision should he be able to able to secure placement at one. (Doc.

Nos. 49).

       On September 27, 2022, Defendant filed a “Motion to Reconsider Detention Order.” (Doc.

No. 70). Citing the lengthy waiting list for a residential reentry placement, he requests to be released

to Bless Builders, a sober living facility in Bismarck, North Dakota.

       The court has reviewed the record and finds that, while the information provided by

Defendant in his motion is new, it does not have a material bearing on the danger or risk of flight

that he presumptively poses given the nature of his charged offenses. Consequently, the court is not


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inclined to reconsider its detention order.

       At close of the detention hearing, the court advised that could revisit the issue of

Defendant’s detention if space becomes available for him at a residential reentry center or if he

secures a placement at an approvable residential treatment facility. Blessed Builders is a sober

living facility. It does not provide treatment. Consequently, it does not meet the criteria of what the

court would consider an approvable and appropriate release option. Defendant’s motion (Doc. No.

70) is therefore DENIED.

       IT IS SO ORDERED.

       Dated this 3rd day of October, 2022.

                                                       /s/ Clare R. Hochhalter
                                                       Clare R. Hochhalter, Magistrate Judge
                                                       United States District Court




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